                                                              United States Bankruptcy Court
                                                              Middle District of Pennsylvania
In re:                                                                                                                 Case No. 21-00329-HWV
Maria Victoria Diri                                                                                                    Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0314-5                                                  User: AutoDocke                                                             Page 1 of 2
Date Rcvd: Apr 16, 2021                                               Form ID: ntasset                                                           Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 18, 2021:
Recip ID                 Recipient Name and Address
db                     + Maria Victoria Diri, 111 High Mountain Lane, Tannersville, PA 18372-7858
5391371                + Andrews Federal CU, 5711 Allentown Road, Suitland, MD 20746-4547
5391376                  US Department of Education, 3130 Fairview Park Drive, Suite 800, Chesapeake, VA 23323

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
5391370                + EDI: AMEREXPR.COM
                                                                                        Apr 16 2021 22:48:00      American Express, P.O. Box 981537, El Paso, TX
                                                                                                                  79998-1537
5391372                + EDI: CAPITALONE.COM
                                                                                        Apr 16 2021 22:48:00      Capital One Bank, P.O. Box 30281, Salt Lake
                                                                                                                  City, UT 84130-0281
5391373                + Email/Text: bankruptcy@cavps.com
                                                                                        Apr 16 2021 18:59:00      Cavalry Portfolio Services, 500 Summit Lake Dr.,
                                                                                                                  Ste. 4A, Valhalla, NY 10595-2323
5391374                   EDI: DISCOVER.COM
                                                                                        Apr 16 2021 22:48:00      Discover Financial, P.O. Box 15316, Wilmington,
                                                                                                                  DE 19850
5391375                + Email/Text: bknotice@ercbpo.com
                                                                                        Apr 16 2021 18:59:00      Enhanced Recovery Company, P.O. Box 57547,
                                                                                                                  Jacksonville, FL 32241-7547

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 18, 2021                                            Signature:           /s/Joseph Speetjens




          Case 5:21-bk-00329-MJC Doc 16 Filed 04/18/21 Entered 04/19/21 00:31:19                                                                    Desc
                              Imaged Certificate of Notice Page 1 of 3
District/off: 0314-5                                              User: AutoDocke                                                        Page 2 of 2
Date Rcvd: Apr 16, 2021                                           Form ID: ntasset                                                      Total Noticed: 8

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 16, 2021 at the address(es) listed below:
Name                             Email Address
John J Martin (Trustee)
                                 pa36@ecfcbis.com trusteemartin@martin-law.net

Paul S Peters, III
                                 on behalf of Debtor 1 Maria Victoria Diri ppeters@thepetersfirm.com

United States Trustee
                                 ustpregion03.ha.ecf@usdoj.gov


TOTAL: 3




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                             Imaged Certificate of Notice Page 2 of 3
                          UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Maria Victoria Diri,                                            Chapter          7

                   Debtor 1
                                                                Case No.         5:21−bk−00329−HWV


Social Security No.:
                                xxx−xx−0582
Employer's Tax I.D. No.:

                          NOTICE OF NEED TO FILE A PROOF OF CLAIM
                                DUE TO RECOVERY OF ASSETS
The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice
was sent, assets have been recovered by the trustee.

Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address below on or before: July 17, 2021
Creditors who do not file a proof of claim on or before this date may not share in any distribution from the debtor's
estate.

         A PROOF OF CLAIM FORM can be filed electronically using our proof of claim system (ePOC)
              found on our web page at: http://www.pamb.uscourts.gov − Filing a Claim (ePOC)


Alternatively, you may file a claim by regular mail with the court at the address listed below using the proof of claim
form found at http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx.

To receive acknowledgment of your filing, you may either enclose a stamped, self−addressed envelope and a copy of
your proof of claim or you may access the court's PACER system (www.pacer.psc.uscourts.gov) to view your filed
proof of claim.
There is no fee for filing the proof of claim .
Any creditor who has filed a proof of claim already need not file another proof of claim.

Address of the Bankruptcy Clerk's Office:                      For the Court:
Max Rosenn U.S. Courthouse                                     Terrence S. Miller
197 South Main Street                                          Clerk of the Bankruptcy Court:
Wilkes−Barre, PA 18701                                         By: PamelaRadginski, Deputy Clerk
(570) 831−2500
Hours Open: Monday − Friday 9:00 AM − 4:00 PM                  Date: April 16, 2021

ntasset(B204)(05/18)




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